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AO 91 (Rev. 11/11) Criminal Complaint

DOA: 4/17/2025 UNITED STATES DISTRICT COURT
for the
District of Arizona
United States of America ) a
Eduardo Prado Flores ) Case No. as
A #221318392 )
)
Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

Beginning on or about April 15, 2022, and continuing through April 16, 2025, in Maricopa
County, in the District of Arizona, the defendant violated Title 8, United States Code, Section 1306(a)
(Failure to Register as an Alien), an offense described as follows:

EDUARDO PRADO FLORES, then being an alien required to apply for registration and to be
fingerprinted in the United States, did willfully fail or refuse to file an application for such registration,
in violation of Title 8, United States Code, Section 1306(a) (Class B Misdemeanor).

I further state that I am a Deportation Officer.
This criminal complaint is based on these facts:

See Attached Statement of Probable Cause Incorporated By Reference Herein

Digitally signed by ici
AUTHORIZED BY: AUSA Addison Owen 4C— satsisatt JOHN A ease
Continued on the attached sheet. B U RG F R Date: 2025.04.17

15:15:44 -07'00'

Complainant’s signature

Supervisory Detention and Deportation
Officer John Burger
Department of Homeland Security,
~~ Enforcement and Removal Oper: ions

Sworn to telephonically. ( Eb ) Printed name dnd title

Date: April 17, 2025 > LY’ U9 Vv ht

\ \ Judge's signature

HONORABLE DEBORAH M. FINE
City and state: Phoenix, Arizona United States Magistrate Judge

Printed name and title
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STATEMENT OF PROBABLE CAUSE
I, Deportation Officer John Burger, declare under penalty of perjury that the following
is true and correct.

1. I am a Deportation Officer. I have learned the facts recited herein from direct
participation in the investigation and from the reports and communications of other
agents and officers.

2. EDUARDO PRADO FLORES, hereafter “Defendant”, is a twenty-five-year-old alien
unlawfully present in the United States. Defendant is a citizen of Mexico.

3. On April 16, 2025, Defendant was contacted by Department of Homeland Security,
Enforcement and Removal Operations (ICE/ERO) after being released from jail on
Driving Under the Influence charges.

4. Defendant was advised of his constitutional rights. Defendant freely and willingly
acknowledged his rights and agreed to provide a statement under oath.

5. Defendant stated he had been in the United States since 2022. Defendant claimed to
have entered illegally through Juarez city.

6. Pursuant to Title 8, United States Code (U.S.C.) Section 1302(a), aliens, who are 14
years or older and unlawfully present in the United States without visas or status, are
required to apply for registration and to be fingerprinted if they have been in the United
States 30 or more days.

7. On April 17, 2025, your affiant checked all databases and confirmed Defendant has
never registered or filed any immigration paperwork.

8. Your affiant also learned Defendant was previously return to Mexico from the United

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States on several occasions, to include March 29, 2022; April 1, 2022; April 7, 2022,

April 9, 2022; and April 14, 2022.

In Defendant’s written statement provided under oath after he was read his Miranda

rights, he acknowledged the following:

a. He does not have a visa or other immigration paperwork to lawfully enter the United
States.

b. He knew he needed legal documentation from the United States to enter and he has
not filed paperwork with United States immigration service for legal status or
permission to be in the United States.

c. He had not registered his presence or entry to the United States with immigration
service or other United States government agency.

For these reasons, this affiant submits that there is probable cause to believe that
beginning on or about April 15, 2022 through April 16, 2025, that Defendant, an alien,
who is required to register and be fingerprinted pursuant to Title 8 U.S.C. 1302(a),

willfully failed to do so, in violation of Title 8, U.S.C. Section 1306(a).

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11. This affidavit was sworn to telephonically before a United States Magistrate Judge
legally authorized to administer an oath for this purpose. I have thoroughly reviewed the
affidavit and the attachments to it, and attest that there is sufficient evidence to establish

probable cause that the defendant violated Title 8, U.S.C., Section 1306(a).

JO H N A Digitally signed by

JOHN A BURGER
B U RG E R Date: 2025.04.17
15:16:36 -07'00'
Supervisory Officer John Burger
Immigration and Customs Enforcement

Sworn to 2005 LY} on

belarus

HONORABLE DEBORAH™. FINE
United States Magistrate Judge

